      Case 1:14-cv-00061-WSD Document 27 Filed 06/19/14 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

CARLOS LOPEZ,                        )
                                     )
                  Plaintiff,         )
                                     )   No. 1: 14-cv-00061-WSD
v.                                   )
                                     )
TITLEMAX OF GEORGIA, INC.,           )
                                     )
                  Defendant.         )
                                     )

            ORDER GRANTING PARTIES' JOINT MOTION
           FOR APPROVAL OF SETTLEMENT AGREEMENT

      Defendant TitleMax of Georgia, Inc. ("TitleMax") and Plaintiff Carlos

Lopez filed a Joint Motion for Approval of Settlement Agreement.

      Having reviewed the settlement agreement, this Court finds that the

settlement agreement between the parties is a fair and reasonable settlement of

Plaintiffs claims under the Fair Labor Standards Act.

      The parties' Motion is, therefore, GRANTED.

      IT IS HEREBY ORDERED that the parties' settlement agreement is

APPROVED and this action is dismissed WITH PREJUDICE except that the
                                                                            .
Court expressly retains jurisdiction to enforce the settlement which has been

approved by the Court. See Kokkonen v. Guardian Life Ins. Co. of America, 511


                                         1
       Case 1:14-cv-00061-WSD Document 27 Filed 06/19/14 Page 2 of 2




U.S. 375, 114 S. Ct. 1673 (1994). Each party shall bear its or his own costs and

expenses.
                               ,..c..
      SO ORDERED THIS      _.!1_ DAY OF June, 2014.



                              The Honorable Willia~S. Duffey, Jr.
                              District Court Judge, Northern District of Georgia




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